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   6
        Attorneys for Plaintiff
   7    HONEY BAKED HAM INC.
   8
                            UNITED STATES DISTRICT COURT
   9
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                             SOUTHERN DIVISION
  11
        HONEY BAKED HAM INC., a                    CASE NO.: 8:19-cv-01528-JVS (DFMx)
  12    California corporation,
  13                                               REPORT OF PARTIES’ PLANNING
                           Plaintiff,              MEETING
  14          v.
  15    Honey Baked Ham Company LLC, a
        Delaware limited liability company,
  16    HBH Licensing, LLC, a Georgia
        limited liability company,
  17
                           Defendants.             Complaint filed: August 7, 2019
  18

  19
              Counsel for the parties participated in a Rule 26(f) conference on June 29,
  20
       2020, as required by Rule 26(f) of the Federal Rules of Civil Procedure and have
  21
       prepared the following joint report.
  22
              The pretrial conference in this matter is scheduled for June 1, 2020, at 10:00
  23
       a.m. before the Honorable James V. Selna in courtroom 10C, 477 West Fourth Street,
  24
       Santa Ana, California.
  25

  26       SYNOPSIS OF CASE:
  27          The case involves claims by plaintiff, the exclusive California licensee of the
  28   Honey Baked Ham brand for more than 30 years, that defendants wrongfully

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   1   undermined plaintiff’s right to engage in online sales and violated plaintiff’s exclusive
   2   rights to conduct such sales in California under the license agreement between the
   3   parties, and that defendants’ wrongfully seek to decrease competition and increase
   4   prices for defendants’ products by engaging in conduct designed to drive plaintiff out
   5   of the online business for HBH Brand products in California through unlawful
   6   interference with competition and unlawful interference with plaintiff’s supply of
   7   goods.
   8            Plaintiff seeks injunctive relief prohibiting defendants from violating plaintiff’s
   9   exclusive rights to sell HBH Brand products in California, from interfering with
  10   customers’ online access to the purchase of plaintiff’s HBH Brand products, from
  11   restricting plaintiff’s supply of HBH Brand products, from depriving customers of
  12   significantly lower prices for HBH Brand products offered by plaintiffs, and related
  13   injunctive relief. Plaintiff also seeks an award of contractual attorney fees and costs
  14   on plaintiff’s claims against defendant HBH Licensing, LLC.
  15            Defendants deny plaintiff’s claims and have counterclaimed against plaintiff
  16   alleging that plaintiff has repeatedly violated the license agreement in numerous ways
  17   and is subject to termination. Defendants further allege that plaintiff has engaged in
  18   numerous unauthorized and unlawful uses of registered trademarks belonging to
  19   Defendant Honey Baked Ham Company, LLC, by affixing those marks to products
  20   outside the scope of plaintiff’s license and by its unauthorized registration and refusal
  21   to transfer ownership of internet domain names containing Defendant’s registered
  22   marks. Defendants seek declaratory judgments that plaintiff has violated its License
  23   Agreement to the point that Defendant HBH Licensing, LLC, is justified in
  24   terminating the agreement prior to the expiration of its term or, failing that, that the
  25   Plaintiff has violated the License Agreement in numerous ways and must specifically
  26   perform the obligations that it has violated. Defendant Honey Baked USA seeks an
  27   order enjoining the Plaintiff’s ongoing infringement of Honey Baked USA’s
  28   registered trademarks.


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   1       LEGAL ISSUES:
   2       •      First Amended Complaint.
   3              o Does plaintiff sufficiently allege a Business & Professions Code section
   4                 17200 claim.
   5              o Whether and to what extent California franchise law applies.
   6              o Interpretation and scope of license agreement provisions.
   7              o Whether and to what extend plaintiff is bound by defendants’ internet
   8                 guidelines and system standards.
   9       •      Counterclaims
  10              o Do defendants sufficiently allege a Lanham Act, Section 32 violation.
  11              o Do defendants sufficiently allege a Lanham Act, Section 43(a)
  12                 violation.
  13              o Do defendants sufficiently allege claims under Business & Professions
  14                 Code sections 20020 and 20021 for license termination.
  15              o Is plaintiff a franchisee under Business & Professions Code sections
  16                 20020 and 20021.
  17              o If defendants are not entitled to terminate plaintiff’s license, are
  18                 defendants entitled to specific performance of various provisions of the
  19                 License Agreement and Brand standards and requirements.
  20              o Is plaintiff required to transfer to defendant registration and control of
  21                 internet domain names containing defendant’s registered trademarks.
  22              o Interpretation and scope of License Agreement provisions.
  23

  24       INITIAL DISCLOSURES:
  25           The parties have agreed by stipulation, and the Court has ordered, the
  26   continuation of the date for initial disclosures pursuant to Rule 26(a)(1), to August 7,
  27   2020.
  28


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   1       DISCOVERY PLAN AND EXPERTS:
   2       A.    At least one party believes that discovery will be needed on each of these
   3             subjects:
   4            • License agreements for plaintiff (current agreement, predecessor
                  agreements, and license agreement negotiations);
   5
                • License agreements for other former regional licensees;
   6
                • Claimed license violations and plaintiff’s responses;
   7
                • Honey Baked Ham Company, LLC board and committee affairs;
   8
                • Honey Baked Ham Company, LLC and Licensing formation and
   9              consolidation;
  10            • Internet Guidelines;
  11            • System Standards;
  12            • July 22 and July 30, 2019, letters from LLC;
  13            • Buxton and McKinsey reports;
  14            • Positioning Honey Baked Ham Company, LLC/HBH Brand for sale and
                  efforts to sell Honey Baked Ham Company, LLC/HBH Brand;
  15
                • National Website and Honey Baked Ham Company, LLC’s online
  16              shopping website;
  17            • Honey Baked Ham Company, LLC’s online advertising and email lists;
  18            • Easter 2020 sales and operations;
  19            • Social media issues;
  20            • Suppliers, supply fulfillment, and supply costs;
  21            • Inspections and audits for plaintiff and for entire “system”;
  22            • Product pricing;
  23            • Website analytics for Honey Baked Ham Company, LLC and plaintiff;
  24            • Honey Baked Ham Company, LLC’s California customer email list;
  25            • Honey Baked Ham Company, LLC’s online sales into California;
  26            • Honey Baked Ham Company, LLC’s in-store and online sales outside of
                  California;
  27
                • Plaintiff’s retail and online sales;
  28


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   1            • The source, production, packaging, and content of sides, condiments, and
                  other items sold by plaintiff.
   2
                • The signage, packaging, and other materials using registered Honey
   3              Baked Ham Brand trademarks at plaintiff’s retail outlets.
   4            • "The signage, packaging, and other materials using registered Honey Baked
                  Ham Brand trademarks at defendant Honey Baked Ham Company, LLC's
   5               retail outlets."

   6       B.    Disclosure or discovery of electronically stored information should be
   7             handled as follows:
   8            • Exchange of digital media or online electronic exchange.
   9            • The parties have exchanged preferred production protocols for
                  electronically stored information and will work in good faith to exchange
  10              documents in mutually agreeable formats.
  11       C.    The parties have agreed to an order regarding claims of privilege or of
  12             protection as trial-preparation material asserted after production, as follows:
  13            • None. Parties to be governed by existing law on return of privileged
  14               material if any is produced.
  15       D.    Dates for commencing and completing discovery.
  16            • Discovery commencement: August 10, 2020.
  17            • Fact Discovery close: Plaintiff proposes April 30, 2021. Defendants
                  propose April 19, 2021
  18
                • Expert Discovery close: Plaintiff proposes July 12, 2021. Defendants
  19              propose July 5, 2021
  20       E.    The parties have been unable to come to agreement regarding the number of
  21             interrogatories. Plaintiff has proposed a maximum of 35 interrogatories per
  22             side, while defendants have proposed a maximum of 25 interrogatories per
  23             side.
  24       F.    The parties have agreed to a maximum number of 35 requests for
  25             admissions per side, with the exception of requests admitting the
  26             genuineness of documents.
  27       G.    The parties have been unable to come to agreement regarding the number of
  28             depositions. Plaintiff has agreed to a maximum number of 20 depositions


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   1               per side, while defendants have proposed a maximum of 10 depositions per
   2               side.
   3       H.      The parties have agreed to a maximum of 8 hours per deposition.
   4       I.      The parties have agreed to disclose experts and exchange expert reports on
   5               May 10, 2021.
   6

   7       MOTIONS:
   8            There are currently pending before the Court defendants’ Motion to Dismiss
   9   Count IV of the First Amended Complaint (Doc. 97), scheduled to be heard on August
  10   17, 2020, and plaintiff’s Renewed Motion for Preliminary Injunction (Doc. 101),
  11   scheduled to be heard on August 10, 2020.
  12            Defendants may file a motion for summary judgment on plaintiff’s breach of
  13   contract claims.
  14            Neither side contemplates filing any motions to add parties or transfer venue.
  15

  16       DAMAGES:
  17            Not applicable.
  18

  19       INSURANCE:
  20            Not applicable.
  21

  22       SETTLEMENT AND SETTLEMENT MECHANISM:
  23            The parties agree to participate in private ADR by January 8, 2021.
  24

  25       TRIAL ESTIMATE:
  26            The parties request a trial date of October 26, 2021. Plaintiff estimates a trial
  27   length of 12-15 court days. Defendants estimate a trial length of 8 days.
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   1       TIMETABLE:
   2          See attached proposed schedule.
   3

   4       OTHER ISSUES:
   5          Defendants’ pre-trial compliance with the Court’s existing and any later orders
   6   regarding the National Website state selector performance?
   7

   8       CONFLICTS:
   9          Plaintiff plans to take the deposition of counsel for defendants, David
  10   Mayberry, and to call him as a percipient witness at trial.
  11          Defendants intend to oppose any attempt to depose Mr. Mayberry absent
  12   plaintiff’s demonstration that it meets the standard set forth in Shelton v. American
  13   Motors Corp., 805 F.2d 1323, 1327 (8th Cir. 1986).
  14

  15       MAGISTRATES:
  16          The parties agree to having all discovery disputes heard by Court Magistrate.
  17

  18    Dated: July 13, 2020             PETERSON MARTIN REYNOLDS, LLP
  19
  20
                                         By: /s/ P. Kurt Peterson
                                               P. Kurt Peterson
  21                                           Attorneys for Plaintiff Honey Baked Ham, Inc.
  22

  23
        Dated: July 13, 2020             KILPATRICK TOWNSEND & STOCKTON LLP
  24

  25
                                         By: /s/ J. David Mayberry
  26                                           J. David Mayberry
                                               Attorneys for Defendants, Honey Baked Ham
  27                                           Company LLC and HBH Licensing, LLC
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   1                             SIGNATURE CERTIFICATION
   2          Pursuant to 5-4.3.4(a)(2)(i) of the Local Rules - Central District of California,
   3    I, P. Kurt Peterson, certify that the content of this document is acceptable to John
   4    David Mayberry, counsel for Defendants.
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